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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


        JOINT MOTION FOR AN ADDITIONAL LIMITED EXTENSION OF TIME TO
     RESPOND TO MOTIONS TO SEAL EXHIBITS FOR BRIEFING ON SUMMARY
         JUDGMENT AND MOTIONS TO EXCLUDE EXPERT TESTIMONY

         1.      On April 26, 2024, Plaintiffs filed motions to exclude testimony of two of

  Google’s expert witnesses. ECF Nos. 587, 609. On that same date, Google filed a motion for

  summary judgment and motions to exclude testimony of three of Plaintiffs’ expert witnesses.

  ECF Nos. 569, 572, 575, 578 (collectively, the “Motions”).

         2.      All of these filings were accompanied by requests to maintain material under seal.

  With respect to a significant amount of the material submitted under seal, the parties’ basis for

  sealing is that another party (or non-party) designated the material as “confidential” or “highly

  confidential” under the operative protective order in this action, see E.D. Va. L.R. 5(C) (setting

  forth procedures for filing materials where a non-filing party or non-party has designated the

  material as confidential). ECF Nos. 592-93, 605-06, 612, 617.

         3.      On May 1, 2024, the Court granted the parties’ Joint Motion for Extension of

  Time to Respond to Motions to Seal Exhibits for Briefing on Summary Judgment and Motions to

  Exclude Expert Testimony. ECF No. 621 (“Order”).




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         4.      Per the Court’s Order, any responses (by parties or non-parties) to motions to seal

  filed in connection with (1) Google’s summary judgment motion and responses and replies

  thereto and (2) motions to exclude expert testimony and responses and replies thereto shall be

  filed no later than June 7, 2024.

         5.      Following the Court’s order, the parties filed responses to and replies in support

  of the Motions. As with the Motions, the responses and replies were accompanied by requests to

  maintain material under seal. ECF Nos. 642, 648, 651, 661, 667, 698, 712, 719. For most of the

  material submitted under seal, the parties’ basis for sealing is that another party (or non-party)

  has designated the material as “confidential” or “highly confidential.”

         6.      Due to the volume of additional material that has been filed under seal since the

  Court’s Order, the parties respectfully request a limited, one-week extension until June 14, 2024,

  of the response deadline for all responses to motions to seal associated with Google’s motion for

  summary judgment and the parties’ total of five motions to exclude expert witness testimony, as

  well as the associated opposition briefs and replies.

         7.      The parties seek this limited extension to allow the parties and interested non-

  parties to have sufficient time to ensure that their requests for continued sealing are as narrowly

  tailored as possible, facilitating the maximum amount of information ultimately being available

  on the public docket.

         8.      The parties submit that good cause exists to grant this extension, as the parties

  have proceeded diligently in this matter, no party will be prejudiced by the requested relief, and

  the requested relief will not affect any other deadlines in this case. See generally Roe v. Howard,

  No. 1:16-cv-562, 2017 U.S. Dist. LEXIS 187258, *1-2 (E.D. Va. June 30, 2017).




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         9.      The parties have met and conferred regarding the relief requested herein, and both

  Google and Plaintiffs join in this motion.




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   Dated: June 4, 2024

   Respectfully submitted,

   FOR DEFENDANT:
                                      /s/ Craig C. Reilly
   Eric Mahr (pro hac vice)           Craig C. Reilly (VSB # 20942)
   Andrew Ewalt (pro hac vice)        THE LAW OFFICE OF
   Julie Elmer (pro hac vice)         CRAIG C. REILLY, ESQ.
   Lauren Kaplin (pro hac vice)       209 Madison Street, Suite 501
   Scott A. Eisman (pro hac vice)     Alexandria, VA 22314
   Jeanette Bayoumi (pro hac vice)    Telephone: (703) 549-5354
   Claire Leonard (pro hac vice)      Facsimile: (703) 549-5355
   Sara Salem (pro hac vice)          craig.reilly@ccreillylaw.com
   Tyler Garrett (VSB # 94759)
   FRESHFIELDS BRUCKHAUS              Karen L. Dunn (pro hac vice)
   DERINGER US LLP                    Jeannie S. Rhee (pro hac vice)
   700 13th Street, NW, 10th Floor    William A. Isaacson (pro hac vice)
   Washington, DC 20005               Amy J. Mauser (pro hac vice)
   Telephone: (202) 777-4500          Martha L. Goodman (pro hac vice)
   Facsimile: (202) 777-4555          Bryon P. Becker (VSB #93384)
   eric.mahr@freshfields.com          Erica Spevack (pro hac vice)
                                      PAUL, WEISS, RIFKIND, WHARTON &
   Daniel Bitton (pro hac vice)       GARRISON LLP
   AXINN, VELTROP & HARKRIDER         2001 K Street, NW
   LLP                                Washington, DC 20006-1047
   55 2nd Street                      Telephone: (202) 223-7300
   San Francisco, CA 94105            Facsimile (202) 223-7420
   Telephone: (415) 490-2000          kdunn@paulweiss.com
   Facsimile: (415) 490-2001
   dbitton@axinn.com                  Erin J. Morgan (pro hac vice)
                                      PAUL, WEISS, RIFKIND, WHARTON &
   Bradley Justus (VSB # 80533)       GARRISON LLP
   AXINN, VELTROP & HARKRIDER         1285 Avenue of the Americas
   LLP                                New York, NY 10019-6064
   1901 L Street, NW                  Telephone: (212) 373-3387
   Washington, DC 20036               Facsimile: (212) 492-0387
   Telephone: (202) 912-4700          ejmorgan@paulweiss.com
   Facsimile: (202) 912-4701
   bjustus@axinn.com




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  FOR PLAINTIFFS:

  JESSICA D. ABER                       JASON S. MIYARES
  United States Attorney                Attorney General of Virginia

  /s/ Gerard Mene                       /s/ Tyler T. Henry
  GERARD MENE                           STEVEN G. POPPS
  Assistant U.S. Attorney               Deputy Attorney General
  2100 Jamieson Avenue                  TYLER T. HENRY
  Alexandria, VA 22314                  Assistant Attorney General
  Telephone: (703) 299-3777
  Facsimile: (703) 299-3983             Office of the Attorney General of Virginia
  Email: Gerard.Mene@usdoj.gov          202 North Ninth Street
                                        Richmond, VA 23219
  /s/ Julia Tarver Wood                 Telephone: (804) 692-0485
  JULIA TARVER WOOD                     Facsimile: (804) 786-0122
  /s/ Michael J. Freeman                Email: thenry@oag.state.va.us
  MICHAEL J. FREEMAN
                                        Attorneys for the Commonwealth of
  United States Department of Justice   Virginia and local counsel for the
  Antitrust Division                    States of Arizona, California,
  450 Fifth Street NW, Suite 7100       Colorado, Connecticut, Illinois,
  Washington, DC 20530                  Michigan, Minnesota, Nebraska, New
  Telephone: (202) 307-0077             Hampshire, New Jersey, New York,
  Fax: (202) 616-8544                   North Carolina, Rhode Island,
  Email: Michael.Freeman@usdoj.gov      Tennessee, Washington, and West
  Attorneys for the United States       Virginia




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